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                 4                                 UNITED STATES DISTRICT COURT
                 5                                        DISTRICT OF NEVADA
                 6                                                    ***
                 7       UNITED STATES OF AMERICA,                            Case No. 2:13-CR-83 JCM (CWH)
                 8                                            Plaintiff(s),                    ORDER
                 9              v.
               10        DERRICK PHELPS, et al.,
               11                                          Defendant(s).
               12
               13              Presently before the court are the motions in limine (ECF Nos. 235, 246) and the motion

               14       to exclude expert testimony (ECF No. 234) filed by the government against defendants Derrick
                        Phelps, Cynthia Phelps, Linda Mack, Tai Keyster, and Daryll Reese.
               15
                               All defendants have pled guilty in this case. (ECF Nos. 92, 238, 245, and 253). Therefore,
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                        these motions (ECF Nos. 234, 235, and 246) are moot, and will be dismissed.
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                               Accordingly,
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                               IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that the government’s
               19       motion to exclude expert testimony (ECF No. 234) and motions in limine (ECF No. 235, 246) be,
               20       and the same hereby are, DISMISSED as moot.
               21              DATED August 29, 2016.
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               23                                                    __________________________________________
                                                                     UNITED STATES DISTRICT JUDGE
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James C. Mahan
U.S. District Judge
